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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
DON BLANKENSHIP, )
Plaintiff,
v. 1:20-cv-429 (LMB/IDD)
KEVIN MCLAUGHLIN, et al.,
Defendants. ;

ORDER
For the reasons stated during a telephone conference held on the record with attorneys for
all parties present, Defendant Blakeman’s Motion to Stay Further Proceedings Against Him
[Dkt. No. 45] is GRANTED, and it is hereby
ORDERED that further proceedings in this action against defendant Bradley Blakeman
are stayed pending disposition of his appeal; and it is further
ORDERED that John Does 1-50 be and are DISMISSED WITHOUT PREJUDICE.

The Clerk is directed to forward copies of this Order to counsel of record.

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Leonie M. Brinkema
United States District Judge

Entered this Qe aay of September, 2020.

Alexandria, Virginia
